                 Case: 1:22-mj-00033-SKB Doc #: 1 Filed: 01/12/22 Page: 1 of 6 PAGEID #: 1
AO 106 (Rev. 04/ 10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                              Southern District of Ohio

               In the Matter of the Search of                                )
          (Briefly describe the property to be searched
                                                                             )
           or identifj, the person by name and address)
                                                                             )           Case No.      1:22-MJ-00033
  Priority Mail Express, Label Number EI 038 698 737 US, addressed           )
  to CuRtis GilliAm, 1358 Deerfield CT, CoNcord, CA 94521 with a
 retum address ofSeAN GilliAm, 7840 NewbedfoRd Ave, Cincinnati,              )
                      OH 4521 3, (513) 972-7275 .                            )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1jury that I have reason to believe that on the following person or property (iden tify the person or describe the
property to be searched and give its location):
   Priority Mail Express, Label Number El 038 698 737 US , addressed to CuRtis GilliAm. 135 8 Deerfield CT, CoNcord, CA 94521 with a retum address of SeAN
                                            GilliAm, 7840 NewbedfoRd Ave, Cincinnati, OH 45213, (513) 972-7275 .

located in the              Southern              District of
                                                                - - - - - -Ohio
                                                                            - - - - - - - , there is now concealed                         (ide nt/fj, the
person or describe the property to be seized):
A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title
21, United States Code, Section 841 (a)(]).

          The basis for the search under Fed. R. Crim . P. 4 l(c) is (check one or more):
                 ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 D    property designed for use, intended for use, or used in committing a crime;
                 D    a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of: Title 21
         Code Section                                                                    Offense Description
21 U.S.C. 841 (a) (1)                            Possession with intent to distribute a controlled substance


          The application is based on these facts:
See attached affidavit of U.S . Postal Inspector Alan J. Wilkins

           ~ Continued on the attached sheet.
           D    Delayed notice          days (give exact ending date if more than 30 days:
                                                                                              ------
                                                                                                     ) is requested
                under 18 U.S .C. § 3103a, the basis of which is set fo1th on the attached sheet.



                                                                                                         Applicant 's signature

                                                                                            Alan J. Wilkins, U.S. Postal Inspector
                                                                                                         Printed name and title

Sworn to before me and signed in my presence.
via electronic means, speci cally Facetime video.

Date:       Jan 12, 2022
                                                                                                           Judge 's signature
                                                                                                     Stephanie K. Bowman
City and state : Cincinnati , Ohio
                                                                                                 United States Magistrate Judge
                                                                                                         Printed name and title
                       fi
                 Case: 1:22-mj-00033-SKB Doc #: 1 Filed: 01/12/22 Page: 2 of 6 PAGEID #: 2
AO 106 (Rev. 04/10) -Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                              Southern District of Ohio

               In the Matter of the Search of                                 )
          (Briefly describe the property to be searched
                                                                              )
           or identify the person by name and address)                                    Case No.
                                                                              )
  Priority Mail Express, Label Number El 038 698 737 US, addressed            )
  to CuRtis GilliAm, 1358 Deerfield CT, CoNcord, CA 94521 with a
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                      OH 45213, (5 13) 972-7275.                              )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1jury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
   Priority Mail Express, Label Number El 038 698 737 US, addressed to CuRtis Gilli Am, 1358 Deerfield CT, CoNco rd , CA 94521 with a return address ofSeAN
                                            G illiAm, 7840 NewbedfoRd Ave, Cincinnati, OH 45213, (5 13) 972-7275 .

located in the              Southern              District of                     Ohio                      , there is now concealed (identify the
                                                                 -------------
person or describe the property to be seized):
A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in vio lation of Title
21 , United States Code, Section 84l(a)(l).

          The basis for the search under Fed. R . Crim. P. 4l(c) is (check one or more) :
               ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 D    property designed for use, intended for use, or used in committing a crime;
                 D    a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of: Title 21
         Code Section                                                             Offense Description
21 U.S.C. 841 (a) (1)                            Possession with intent to distribute a controlled substance


          The application is based on these facts:
See attached affidavit of U .S. Postal Inspector Alan J. Wilkins

           ~ Continued on the attached sheet.
           D    Delayed notice _ _ days (give exact ending date if more than 30 days:
                                                                                             ------
                                                                                                    ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                          Applicant's signature

                                                                                             Alan J. Wilkins, U.S. Postal Ins ector
                                                                                                          Printed name and title

Sworn to before me and signed in my presence.


Date :
                                                                                                            Judge's signature
                                                                                                     Stephanie K. Bowman
City and state: Cincinnati, Ohio
                                                                                                 United States Ma istrate Jud e
                                                                                                          Printed name and title
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                                         AFFIDAVIT

      I, Alan J. Wilkins, having been duly sworn, depose and state:

1.    I am a United States Postal Inspector with the United States Postal Inspection Service
      (USPIS), assigned to the Cincinnati, Ohio Field Office. I have been employed by the
      United States Postal Inspection Service since June 1, 2013. I have investigative
      responsibility for southwest Ohio and northern Kentucky . Part of my investigative
      responsibility involves the use of the United States Mail in the illegal transporting of
      narcotics and other dangerous controlled substances and financial proceeds relating
      thereto.

2.    I have gained experience through completion of the Basic Inspector Training (BIT) in
      August of 2013. During BIT training, I was instructed in all phases of criminal
      investigation such as: criminal law, search and seizure, field enforcement techniques,
      firearms proficiency, drug and narcotics identification, drug and narcotics field testing,
      interviewing and evidence collection.       Since June 2013 I have worked with various
      federal , state, and local law enforcement agencies in the prosecution of crimes involving
      the U.S. Mail and the U.S. Postal Service including but not limited to mail fraud, bank
      fraud, mail theft, burglaries, robberies, homicides, dangerous mail investigations, and
      mailed narcotics.

3.    This Affidavit is made in support of a search warrant for the following property, namely a
      package associated with the following United States Postal Service (USPS) Priority Mail
      Express, Label Number:

             a.      EI 038 698 737 US (the "Subject Package")

      This Affidavit is made in support of a warrant to search the Subject Package for
      evidence of a crime as well as contraband, fruits of a crime or other items illegally
      possessed in relation to the following offenses:

      a.     Possession with Intent to Distribute Controlled Substances, in violation of Title
             21 , United States Code, Section 841.

      Because this Affidavit is submitted in support of the application of the United States to
      search the Subject Package, it does not include every fact known concerning this
      investigation, I have set forth facts and circumstances that I have relied upon to establish
      probable cause to justify the issuance of a warrant to search the Subject Package. The
      Subject Package is currently located at the USPIS Cincinnati Field Office.

4.    Based on my training and experience, I have become aware that drug traffickers
      frequently use Priority Mail Express and/or Priority Mail, services offered by the United
      States Postal Service (USPS), to transport narcotics and other dangerous controlled
      substances and their proceeds. As a result of investigations and successful controlled
      substance prosecutions where Priority Mail Express and/or Priority Mail were used, I
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      have learned of certain characteristics indicative of other Priority Mail Express and/or
      Priority Mail items previously identified as containing narcotics or other dangerous
      controlled substances and their proceeds. Some of these characteristics include, but are
      not necessarily limited to or used on every occasion - false or non-existent return
      address, addressee is not known to receive mail at the listed delivery address, the package
      is heavily taped, the package is mailed to or from a known drug source location, labeling
      information contains misspellings, the label contains an illegible waiver signature,
      unusual odors emanating from the package, and the listed address is located in an area of
      known or suspected drug activity. I am aware that packages containing illegal narcotics
      or proceeds can sometimes have correct return address or addressee information.
      Narcotics traffickers will use legitimate names of residents with or without their
      permission and knowledge in an attempt to conceal their illegal activities.

5.    Through my training and experience, I am aware it is not uncommon for drug traffickers
      engaging in drug transactions through the mail to store narcotics, their proceeds, or
      packaging materials, etc., in the presence of one another. Therefore, it would not be
      uncommon for an odor of a controlled substance to be present on the package, packaging
      materials, or contents of the package, including financial proceeds from narcotics
      trafficking such as cash, money orders, or other financial instruments.

6.    The Subject Package was mailed from the Cincinnati Main Post Office, Cincinnati, OH
      45234 on or about January 11 , 2022. On or about January 11, 2022, I intercepted the
      Subject Package at the Cincinnati Main Post Office. Observation of the Subject
      Package indicates it is Priority Mail Express in a white medium Priority Mail Flat Rate
      box and weighs approximately 2 pounds 7 ounces. Postage paid for was $63 .50.

      The Subject Package is further described as:

             Priority Mail Express, Label Number: EI 038 698 737 US

             Sender:        SeAN GilliAm
                            7840 NewbedfoRd Ave
                            Cincinnati, OH 45213
                            (513)972-7275

             Addressee:     Curtis GilliAm
                            1358 Deerfield CT
                            CoNcord, CA 94521

7.    I searched the Consolidated Lead Evaluation and Reporting (CLEAR) database system
      regarding the listed return address on the Subject Package. CLEAR is a public record
      data investigative platform available exclusively to law enforcement and other
      government investigators about people and businesses. The information obtained from
      the system indicated that there is no Sean Gilliam associated with that address. The
      information obtained from the system also indicated the last name Gilliam has not
      associated with the address since approximately 1993.



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8.      I searched CLEAR database regarding the listed return telephone number, (513)972-
        7275. The information obtained from the system indicates Sean Gilliam is not associated
        with that telephone number. The telephone number is associated to the listed addressee,
        Curtis Gilliam.

9.      I searched the CLEAR database regarding the listed addressee on the Subject Package.
        The information obtained from the system indicated there is a Curtis Gilliam is associated
        with the address.

10.     On or about January 12, 2022, I arranged for Sergeant Anthony Lange, Hamilton County
        Sheriffs Office, to utilize a narcotics canine to check the Subject Package. Sergeant
        Lange and his canine "Kylo" are a currently certified narcotics team. The team is
        certified by the Ohio Peace Officer Training Commission and the Ohio Office of the
        Attorney General. Sergeant Lange reports that "Kylo" passed all of his examinations and
        has successfully located hidden drugs in the past; I therefore consider "Kylo" to be
        reliable. Postal Inspectors met Sergeant Lange at the USPIS Cincinnati Field Office,
        where the Subject Package was placed in a separate office among several other similar
        packages and presented to "Kylo", who alerted positively to the presence or odor of a
        controlled substance upon the Subject Package. Attached to this Affidavit, and
        incorporated by reference, is a photocopy of the narcotic canine handler's record of
        examination

11 .    Based upon my experience and training, this information, along with the positive alert of
        narcotic canine "Kylo" is indicative of the Subject Package containing narcotics or
        proceeds relating thereof.

12.     Based upon the information contained in this Affidavit, I believe that there is probable
        cause to believe that the Subject Package will contain evidence and/or contraband, fruits
        of crime, or other items illegally possessed. Therefore, a search warrant to open the
        Subject Package is requested.


                                                    Respectfully submitted,


                                                    Alan J. Wilkins
                                                    U.S. Postal Inspector


Subscribed and sworn to and before me this _12th
                                            _ _ day of January, 2022
via electronic means, speci cally Facetime video.



Stephanie K. Bowman
United States Magistrate Judge



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H:;.;;::::~.,,. United States Postal Inspection Service
                Pittsburgh Division




                                                 OFFICER AFFIDAVIT



         I, SGT LANGE, AM, AND HAVE BEEN, EMPLOYED BY THE HAMILTON COUNTY SHERIFF'S

         OFFICE, SINCE 1996. AMONG OTHER DUTIES, I AM CURRENTLY THE ASSIGNED HANDLER OF

         NARCOTICS DETECTION CANINE "KYLO", WHICH            IS TRAINED AND CERTIFIED IN THE

         DETECTION OF THE PRESENCE OR ODOR OF NARCOTICS DESCRIBED AS FOLLOWS:

         Marijuana, Cocaine, Heroin, Methamphetamines, and their derivatives

         ON 1/12/2022, AT THE REQUEST OF POSTAL INSPECTOR A. WILKINS I RESPONDED TO THE US

         POSTAL INSPECTION SERVICE CINCINNATI FIELD OFFICE WHERE "KYLO" DID ALERT TO AND

         INDICATE UPON THE FOLLOWING DESCRIBED ITEM:




         USPS Priority Mail Express Label Number El 038 698 737 US, addressed to CuRtis

         GilliAm, 1358 Deerfield CT, Concord, CA 94521 with a return address of SeAN

         GilliAm, 7840 NewbedfoRd Ave, Cincinnati, OH 45213, (513)972-7275.

         BASED ON MY TRAINING AND EXPERIENCE AND THAT OF "KYLO", I CONSIDER THE ABOVE

         DESCRIBED ITEM TO CONTAIN WITHIN OR UPON THE PRESENCE OR ODOR OF A NARCOTIC OR

         OTHER DANGEROUS CONTROLLED SUBSTANCE.




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                1d -
                   Date)
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         Cincinnati Field Office
         895 Central Avenue, Suite 400
         Cincinnati, OH 45202-5748
         Telephone : 513-684-8060
         FAX: 513-684-8009
